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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CIV-60424-RAR

  BROOKE E. BUTLER,

         Plaintiff,

  v.

  NATIONAL MANAGEMENT
  RECOVERY CORP.,

        Defendant.
  ______________________________/

                                         FINAL JUDGMENT

         Pursuant to Federal Rule of Civil Procedure 58 and in accordance with the Court’s Order

  Granting In Part Plaintiff’s Motion for Default Judgment [ECF No. 9], it is hereby

         ORDERED AND ADJUDGED that Final Judgment is entered in favor of Plaintiff Brooke

  E. Butler and against Defendant National Management Recovery Corp. Plaintiff shall recover

  from Defendant the total sum of $2,925.50 that shall bear interest at the prevailing statutory legal

  rate, for which let execution issue.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 30th day of April, 2020.




                                                       RODOLFO A. RUIZ II
                                                       UNITED STATES DISTRICT JUDGE
